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Glenn	  Solomon	  #833287	  
1001	  SW	  Fifth	  Avenue	  #1414	  
Portland,	  Oregon	  97204	  
(503)	  241-­‐3508	  
glensol@aol.com	  
	  
Attorney	  for	  Plaintiff	  
	  
	  
	  
	  
                                           IN	  THE	  UNTITED	  STATES	  DISTRICT	  COURT	  
                                                                                  	  
                                                   FOR	  THE	  DISTRICT	  OF	  OREGON	  
                                                                                  	  
LAMONT	  KELLER,	  II	  and	  	   	                       )	  
PATRICIA	  KELLER,	   	                              	      )	  
	           	            	               	          	      )	  
	           	            	               Plaintiffs,	       )	  	  No.	  
	           	            	               	          	      )	  
v.	         	            	               	          	      )_	  COMPLAINT	  FOR	  WAGES	  	  
	           	            	               	          	      )	  	  	  DUE	  AND	  OWING	  	  
CAL-­‐AM	  PROPERTIES,	  INC.	   	                          )	  	  	  	  
a	  foreign	  corporation,	                          	      )	  
	           	            	               	          	      )	  	  JURY	  TRIAL	  REQUESTED	  
	           	            	               Defendant.	   )	  
	  
	           Plaintiff	  alleges	  as	  follows:	  
	  
	           1.	  	  This	  is	  an	  action	  for	  wages	  due	  and	  owing	  in	  which	  the	  plaintiffs,	  (the	  	  
	  
Kellers),	  allege	  that	  they	  were	  not	  paid	  overtime	  wages	  in	  violation	  of	  section	  7of	  	  
	  
the	  Fair	  Labor	  Standards	  Act,	  29	  USC	  201	  et	  seq,	  (the	  FLSA)	  .	  	  The	  plaintiffs	  	  
	  
seek	  back	  pay,	  liquidated	  damages	  and	  attorney	  fees.	  
	  
	           2.	  	  This	  court	  has	  jurisdiction	  pursuant	  to	  29	  USC	  201	  et	  seq	  and	  28	  USC	  	  
	  
1331.	  
	  
	           3.	  	  Venue	  is	  proper	  under	  28	  USC	  1391(b)(ii)	  as	  the	  defendant	  (Cal-­‐Am),	  
	  
	  
	  
1.	  	  COMPLAINT	  
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transacts	  business	  in	  this	  district,	  and	  the	  Kellers	  were	  employed	  in	  this	  district.	  	  	  
	  
                                                                  Parties	  
                                                                           	  
	           4.	  	  The	  Kellers	  are	  adult	  citizens.	  	  They	  are	  a	  married	  couple	  who	  are	  	  
	  
employed	  by	  Cal-­‐Am	  as	  Property	  Managers	  at	  Springbrook	  Estates	  on	  Wilsonville	  	  
	  
Road	  in	  Newberg,	  Oregon.	  	  The	  Kellers	  have	  worked	  for	  Cal-­‐Am	  since	  June	  of	  2007.	  
	  
	           5.	  	  Cal-­‐Am	  in	  a	  foreign	  corporation	  with	  its	  principal	  place	  of	  business	  in	  
	  
Costa	  Mesa	  California.	  	  It	  owns	  and	  manages	  parks	  for	  manufactured	  homes	  	  
	  
and	  trailers	  in	  across	  the	  United	  States.	  	  	  It	  operates	  several	  facilities	  in	  Oregon.	  
	  
                                                                     Facts	  
                                                                           	  
	           6.	  	  As	  Property	  Managers	  the	  Kellers	  are	  required	  to	  live	  in	  the	  home	  	  
	  
provided	  by	  Cal-­‐Am	  in	  Springbrook	  Estates.	  	  They	  are	  there	  for	  the	  benefit	  of	  Cal-­‐Am	  
	  
to	  take	  care	  of	  the	  day	  to	  day	  operation	  of	  the	  property	  and	  to	  sell	  used	  	  
	  
homes.	  	  	  However,	  they	  are	  non-­‐exempt	  under	  section	  13(a)(1)	  of	  the	  FLSA.	  	  They	  
	  
have	  no	  supervisory	  or	  management	  responsibilities	  and	  no	  professional	  	  
	  
qualifications.	  	  Their	  work	  does	  not	  require	  a	  high	  level	  of	  skill	  or	  the	  exercise	  of	  	  
	  
independent	  judgment.	  	  Neither	  of	  them	  is	  paid	  a	  minimum	  of	  $455.00	  per	  week.	  
	  
	           7.	  	  The	  Kellers	  submit	  time	  sheets.	  	  Their	  pay	  records	  show	  that	  they	  	  
	  
frequently	  work	  in	  excess	  of	  forty	  hours	  per	  week,	  yet	  they	  are	  not	  paid	  for	  any	  	  
	  
work	  in	  excess	  of	  forty	  hours	  per	  week.	  	  Instead	  they	  each	  make	  a	  salary	  of	  	  
	  
approximately	  $17,000	  per	  annum,	  or	  $326.00	  per	  week	  	  ($8.17	  per	  hour),	  plus	  	  
	  
benefits	  and	  commissions.	  
	  
	           8.	  	  Cal-­‐Am	  has	  asked	  the	  Kellers	  not	  to	  keep	  track	  of	  their	  work	  time.	  
	  
	           	  
2.	  	  COMPLAINT	  
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	            9.	  	  The	  Kellers	  are	  not,	  and	  have	  not	  been,	  since	  the	  inception	  of	  	  
	  
their	  employment,	  paid	  for	  all	  the	  time	  they	  have	  worked.	  	  	  Cal-­‐Am	  pays	  the	  	  
	  
Kellers	  an	  arbitrary	  amount	  without	  regard	  to	  the	  time	  actually	  expended	  on	  the	  	  
	  
job.	  
	  
	            10.	  	  The	  Kellers	  have	  frequently	  been	  required	  to	  work	  in	  excess	  forty	  	  
	  
hours	  per	  week.	  	  Pay	  records	  for	  each	  two	  week	  pay	  period,	  for	  the	  three	  	  
	  
year	  period	  dating	  from	  the	  filing	  of	  this	  complaint	  going	  back	  to	  January	  2010,	  	  
	  
show	  that	  the	  Kellers	  have	  worked	  approximately	  836	  	  hours	  of	  overtime	  with	  no	  	  
	  
compensation.	  
	  
	            11.	  	  The	  FLSA	  requires	  Cal-­‐Am	  to	  pay	  its	  non-­‐exempt	  employees	  at	  a	  rate	  	  
	  
of	  at	  least	  one	  and	  one	  half	  times	  their	  regular	  rate	  of	  pay	  for	  time	  worked	  in	  one	  	  
	  
work	  week	  over	  forty	  hours.	  
	  
	            12.	  	  Cal-­‐Am	  willingly,	  deliberately	  and	  intentionally	  refused	  to	  pay	  	  
	  
the	  Kellers	  overtime.	  	  Instead,	  Cal-­‐Am	  wrongly	  misled	  the	  Kellers,	  and	  told	  	  
	  
them	  that	  they	  were	  not	  eligible	  for	  overtime.	  	  	  
	  
                                                                        Claim	  
	  
                                                        (Unpaid	  Overtime,	  FLSA)	  
                                                                           	  
	            13.	  	  The	  Kellers	  re-­‐allege	  paragraphs	  1	  –	  12.	  
	  
	            14.	  	  The	  Kellers	  together	  are	  owed	  $12,350	  in	  unpaid	  overtime	  wages.	  
	  
WHEREFORE,	  The	  Kellers	  pray	  for	  judgment	  against	  Cal-­‐Am	  as	  follows:	  
	  
	            1.	  	  For	  $12,350	  in	  unpaid	  overtime	  wages,	  plus	  interest;	  
	  
	            2.	  	  For	  $12,350	  in	  liquidated	  damages,	  as	  allowed	  under	  29	  USC	  216	  	  	  
	  
for	  willful	  conduct;	  
3.	  	  COMPLAINT	  
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	           3.	  	  For	  reasonable	  attorney	  fees;	  
	  
	           4.	  	  For	  the	  costs	  and	  disbursements	  of	  this	  action;	  
	  
	           5.	  	  For	  whatever	  other	  relief	  the	  court	  deems	  necessary	  and	  proper.	  
	  
	  
	  
	  
Respectfully	  submitted	  by:	  
	  
	  
	  
	           	               	        	            	    	        	         /s/Glenn	  Solomon	  
	           	               	        	            	    	        	         Glenn	  Solomon	  
	           	               	        	            	    	        	         Attorney	  for	  Plaintiffs	  
	  
	  
	  
	  
	  
	  
	  
	  
	  
	  
	  
	  
	  
	  
	  
	  
	  
	  
	  
	  
	  
	  
	  
	  
	  
	  
	  
4.	  	  COMPLAINT	  
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